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L R Civ P 26.4 - Rule 502(b) Form (06/08/2017)




                           UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT CHARLESTON




BRADLEY COTTRELL, Plaintiff,




v.                                                 CIVIL ACTION 2:18-cv-01281




NATHAN S. STEPP, ET AL., Defendants.




                  ORDER GOVERNING THE INADVERTENT DISCLOSURE
                OF DOCUMENTS OR OTHER MATERIAL UNDER RULE 502(b)

           Consistent with Federal Rule of Evidence 502(b) and Federal Rule of Civil Procedure

26(b), the Court hereby ORDERS that the following procedures shall govern the inadvertent

production of privileged or confidential documents:

           I.    CLAWBACK OF PRIVILEGED OR PROTECTED DOCUMENTS

           A.        If a party discloses information (the “Disclosing Party”) in connection with the

pending litigation that the Disclosing Party thereafter claims to be privileged or protected by

the attorney-client privilege or work product protection (“Protected Information”), the

disclosure of that Protected Information shall not constitute a waiver or forfeiture—in this or

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any action—of any claim of privilege or work product protection that the Disclosing Party

would otherwise be entitled to assert with respect to the Protected Information and its subject

matter if (i) the Disclosing Party took reasonable steps to prevent disclosure and (ii) the

Disclosing Party promptly took reasonable steps to rectify the error. For purposes of this Order,
                                      45
the term “promptly” shall mean within ___ days of the discovery of the inadvertent disclosure.

       B.      If a party receiving information (the “Receiving Party”) has reason to believe

that the information is subject to an attorney-client privilege or work product protection, the

Receiving Party shall promptly notify the Disclosing Party of the potential inadvertent

disclosure. Nothing in this Order overrides any attorney's ethical responsibilities to refrain from

examining or disclosing materials that the attorney knows, or reasonably should know, to be

privileged.

       C.      When a Disclosing Party asserts a privilege or work product protection over

inadvertently disclosed Protected Information, the parties shall follow the procedure set forth

in Fed. R. Civ. P. 26(b)(5)(B) and in accordance with the following provisions:
                                                  45
        1.     The Disclosing Party shall, within ___ days of the discovery of the inadvertent

disclosure, notify the Receiving Party, in writing, that it has disclosed Protected Information

without intending a waiver by the disclosure. The Disclosing Party must explain in the

notification as specifically as possible why the Protected Information is privileged or protected.

The Disclosing Party shall identify the Protected Information by Bates-stamped number. If the

Protected Information is not Bates-stamped, the Disclosing Party shall identify the Protected

Information in a manner that reasonably permits the Receiving Party to easily locate the

Protected Information at issue.




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       2.      Upon receiving notification of the inadvertent disclosure, the Receiving Party

must—unless it challenges the claim of attorney-client privilege or work product protection or

the Disclosing Party’s right to clawback the Protected Information in accordance with

Paragraph 3—promptly (i) notify the Disclosing Party that it will make best efforts to identify

and return, sequester, or destroy (or in the case of electronically stored information, delete) the

Protected Information and any reasonably accessible copies it has, and (ii) provide a

certification that it will cease further review, dissemination, and use of the Protected

Information. For purposes of this Order, Protected Information that has been stored on a source

of electronically stored information that is not reasonably accessible, such as backup storage

media, is sequestered. If such data is retrieved, the Receiving Party must promptly take steps to

delete or sequester the restored protected information. For purposes of this Order, Protected

Information that has been stored on a source of electronically stored information that is not

reasonably accessible, such as backup storage media, is sequestered. If such data is retrieved,

the Receiving Party must promptly take steps to delete or sequester the restored protected

information.

       3.      Any challenge to a Disclosing Party’s request to clawback Protected Information
                                                           30
shall be raised, in writing, by the Receiving Party within ___ days after being notified of the

Disclosing Party’s request to clawback the Protected Information. The parties shall promptly

meet and confer, in person or by telephone, to determine if the challenge can be resolved

without judicial intervention. If the parties are unable to resolve the dispute, the Disclosing

Party shall move the Court for a Protective Order compelling the return or destruction of the

information claimed to be Protected Information. The Motion for a Protective Order, response

to the motion, and reply memorandum may be filed under seal, if appropriate. Pending




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resolution of the Motion for a Protective Order, the Receiving Party must not use the challenged

information in any way or disclose it to any person other than those required by law to be served

with a copy of the sealed Motion for Protective Order.

       4.      The parties may stipulate to extend the time periods set forth in Paragraphs 1

and 3 of this Order.

       5.      The Disclosing Party retains the burden—upon challenge pursuant to Paragraph

3—of establishing the privileged or protected nature of the Protected Information and the right

to clawback the Protected Information.

       6.      Nothing in this Order limits the right of any party to petition the Court for an in

camera review of the Protected Information.

       7.      This Order does not preclude a party from voluntarily waiving the attorney-

client privilege or work product protection. The provisions of Fed. R. Evid. 502(a) apply when

the Disclosing Party uses or indicates that it may use information produced under this Order to

support a claim or defense.

       II.     DISCLOSURE    OF  DOCUMENTS                       INADVERTENTLY              NOT
               DESIGNATED AS CONFIDENTIAL

       In the event that a Disclosing Party mistakenly produces confidential information

without a confidentiality designation as permitted by the Protective Order entered in this

litigation, the following procedures shall apply:
                                             30
       A. The Disclosing Party shall, within ____ days of the discovery of the production,

notify the Receiving Party in writing, identifying the confidential information by Bates-stamped

number. If the confidential information is not Bates-stamped, the Disclosing Party shall identify

the confidential information in a manner that reasonably permits the Receiving Party to easily
                                                     30
locate the confidential information at issue. Within ____ days thereafter, the Disclosing Party



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shall provide a replacement copy of the confidential information, marked “CONFIDENTIAL”

and properly Bates-stamped with the original number, if applicable. The Receiving Party shall

promptly destroy or return the confidential information mistakenly produced without a

confidentiality designation, including any copies it has, and replace it with the confidential

information properly designated as confidential.

       B. If a Receiving Party disputes the Disclosing Party’s claim of confidentiality, the

Receiving Party may move the Court to challenge the confidential designation in accordance

with the provisions of the Protective Order entered in this case. If a Receiving Party elects to

file such a motion, the Receiving Party may retain possession of the confidential information,

but shall treat it in accordance with the terms of the Protective Order pending resolution of the

motion. If the Receiving Party's motion is denied, the parties shall promptly comply with

Paragraph II. A. of this Order.

       C) The production of such document does not constitute a waiver of any claim of

confidentiality as set forth in the Protective Order in this matter, unless otherwise determined

by the court.

       The Clerk is hereby directed to send copies of this Order to counsel of record and any

unrepresented party.

                                      ENTER: November 6, 2018




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